      Case 1:03-cr-00013-DCB   Document 224   Filed 02/08/06   Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA                                           RESPONDENT

VS.                                     CIVIL ACTION NO. 1:05cv21-DCB-JCS
                                                CRIMINAL NO. 1:03cr13-DCB

MELVIN EUGENE WILLARD                                              PETITIONER


                                      ORDER

      This cause is before the Court sua sponte, pursuant to Rule

4(b) of the Rules Governing § 2255 Proceedings, and having reviewed

the petitioner's motion, the Court finds that a response to the

motion by the government is required.         Accordingly,

      IT IS HEREBY ORDERED that the United States Attorney shall

file an answer to the petitioner's motion under 28 U.S.C. § 2255 to

vacate, set aside or correct his sentence in criminal action no.

1:03cr13, within thirty (30) days from the date of entry of this

Order.

      SO ORDERED, this the      7th     day of February, 2006.



                                            s/David Bramlette
                                        UNITED STATES DISTRICT JUDGE
